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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

 

BRIAN NOE,
23824 Pond View Dr.
Plainfield, IL 60585

and

EILEEN PRUITT
2818 Bauer Road,
North Aurora, IL 60542,

on behalf of
themselves and all other similarly situated,
Case No.: 21-cv-01668
Plaintiffs,
-against- Honorable Manish S. Shah
SMART MORTGAGE CENTERS, INC.
4003 Plainfield Naperville Road,
Naperville, IL 60564

Magistrate Judge Sheila Finnegan

and

RICHARD BIRK,
4003 Plainfield Naperville Road
Naperville, IL 60564

and

BRIAN BIRK,

4003 Plainfield Naperville Road
Naperville, IL 60564

Defendants.

 

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CONSENT TO JOIN FLSA COLLECTIVE ACTION

1. 1am over the age of eighteen and competent to give my consent in this matter.
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2. I consent and agree to pursue my claims for unpaid minimum wage and overtime

amounts that I allege are due to me for work I performed while employed by Smart Mortgage
Centers, for which I claim Defendants are liable.

3. L understand that this lawsuit is brought under the Fair Labor Standards Act of 1938, as
amended, 29 U.S.C. § 201, et seq., to recover alleged unpaid minimum wages, overtime,

and other benefits, including liquidated damages. I hereby consent, agree, and opt in to

become a Plaintiff herein and be bound by any judgment by the Court or any settlement

of this action.

4.. lchoose to be represented by Offit Kurman in this matter and designate any named plaintiffs,
to the fullest extent possible under applicable laws, as my agents to make decisions on my behalf
concerning the litigation, the method and manner of conducting this litigation, compensation

due my attomeys, and all other matters pertaining to this lawsuit.

Su Nay iL? G02

Signed Signature

  
 

Printed Name g
